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                EXHIBIT A
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                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MARYLAND


 LA UNIÓN DEL PUEBLO ENTERO,
 PROMISE ARIZONA, LYDIA
 CAMARILLO, JUANITA VALDEZ-COX,
 ROGENE GEE CALVERT; ZEENAT
 NISHA HASAN; CANDY L. GUTIERREZ;
 EUGENE WU, DEBORAH CHEN,                        Civil Action No. 8:19-CV-02710-PX
 ORGANIZATION OF CHINESE
 AMERICANS-GREATER HOUSTON,
 DAVID CHIU, PHILLIP TING, ALBERT
 MURATSUCHI, KENNY CHU, YICHENG
 WU, CYNTHIA CHOI, VINCENT PAN,
 JOHN PARK, JEFFREY D. HSI, JACINTA
 TITIALII ABBOTT, VENGHAN TANG,
 RAJ MUKHERJI, SHARON TOMIKO
 SANTOS, MIA GREGERSON, JENNIFER
 REYES, RAYMOND SANCHEZ,
 MARICELA LECHUGA, MARTY
 RAMIREZ, FELIPE CRUZ, ALEXANDRA
 ROSY PALOMO-PUJOL, MARCO
 ABARCA, COALITION FOR HUMANE
 IMMIGRANT RIGHTS OF LOS
 ANGELES, RALPH CARMONA, and
 JAVIER GASTON-GREENBERG,
                      Plaintiffs,
       v.
DONALD J. TRUMP, sued in his official
capacity as President of the United States,

WILBUR L. ROSS, sued in his official
capacity as U.S. Secretary of Commerce,
STEVEN DILLINGHAM, sued in his official
capacity as Director of the U.S. Census
Bureau,
 U.S. DEPARTMENT OF COMMERCE, and
 U.S. CENSUS BUREAU,
                      Defendants.
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                SWORN EXPERT DECLARATION OF JOHN THOMPSON

I.     Introduction

       1.      On April 13, 2020 the Secretary of Commerce, Wilbur Ross, and the Director of

the Census Bureau, Dr. Steven Dillingham, issued a statement on 2020 Census operational

adjustments due to the COVID-19 pandemic. This statement concluded that “[u]nder this plan,

the Census Bureau would extend the window for field data collection and self-response to

October 31, 2020, which will allow for apportionment counts to be delivered to the President by

April 30, 2021, and redistricting data to be delivered to the states no later than July 31, 2021.”1

       2.      On August 3, 2020 the Director of the Census Bureau, Dr. Steven Dillingham,

issued a statement announcing that the Census Bureau would “accelerate the completion of data

collection and apportionment counts by our statutory deadline of December 31, 2020, as required

by law and directed by the Secretary of Commerce.”2 Based on my experience and expertise, I

am extremely concerned that this August 3 decision will adversely affect the quality and

accuracy of the 2020 Census.

       3.      The 2020 Census results will be of great importance to our nation. The

Constitution requires that the census be used for reapportioning the House of Representatives

and the Electoral College. The 2020 Census will also be used for numerous other functions to

support good policymaking and economic growth including: redrawing congressional and state

legislative voting districts; allocating over $1.5 trillion of federal funds annually; informing




1
  U.S. Department of Commerce Secretary Wilbur Ross and U.S. Census Bureau Director Steven
Dillingham Statement on 2020 Census Operational Adjustments Due to COVID-19, April 13,
2020.
2
  Statement from U.S. Census Bureau Director Steven Dillingham: Delivering a Complete and
Accurate 2020 Census Count, August 3, 2017.

                                                  2
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sound policy development; providing critical information for state, local and tribal government

planning; and supplying important data to large and small businesses to generate growth and job

creation. Inaccuracies or errors in the 2020 Census will have grave consequences on these uses

for the subsequent 10-year period.

       4.      I have carefully reviewed the 2020 Census Operational Plans as well as the

documentation that the Census Bureau has issued describing the actions it is taking in response

to the COVID-19 pandemic and its recently issued documentation regarding its plans to conclude

data collection by September 30, 2020. Based on my experience and expertise, I am concerned

that reducing the time for data collection at this late date will have serious consequences for the

2020 Census, because: (1) the time constraints will force the Census Bureau to modify the plans

for their data collection operations; (2) these modifications will significantly increase the risk of

larger total and differential undercounts for the hard-to-count populations, as well as increase the

levels of erroneous enumerations and reduce the overall quality of this census, relative to

previous censuses; (3) the Census Bureau’s new push to adhere to a truncated schedule reduces

not only data collection time frames, but drastically reduces time frames for necessary post data

collection processes that ensure an accurate and complete count; and (4) the Census Bureau is

not providing timely measures that will allow stakeholders to assess whether the 2020 Census is

succeeding in carrying out a fair and accurate enumeration under the limitations imposed by the

new push to adhere to a truncated schedule.

II.    Qualifications

       5.      Below I briefly describe specific aspects of my qualifications and work

experience that establish my credentials as an accomplished statistician and an expert on the

Census Bureau and Decennial Census. I have also attached a copy of my CV to this declaration.




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       6.      I have served both as the Director of the U.S. Census Bureau and as the career

senior executive in charge of management of all aspects of the 2000 Decennial Census. I am

also a distinguished professional in the areas of statistics and survey design. I have a deep

understanding of the processes that are necessary to achieve a complete and highly accurate

Decennial Census.

       7.      I served as the Director of the U.S. Census Bureau from August 2013 to June

2017. Prior to becoming Director, I worked at the Census Bureau for 27 years (from 1975 to

2002). I started my career as a mathematical statistician in 1975. I spent the majority of my

employment at the Census Bureau focused on the Decennial Census and ultimately served as the

Associate Director for the 2000 Decennial Census, with management responsibility for all phases

of the 2000 Decennial Census.

       8.      The Census Bureau is the country’s largest Statistical Agency and produces a

wide range of demographic and economic statistics including: the Decennial Census; the

American Community Survey; the Current Population Survey; the National Crime Victimization

Survey; the National Health Interview Survey; the Economic Census; 13 principal key economic

indicators released on a monthly or quarterly basis; and about 100 additional surveys. The

Director of the Census Bureau is appointed by the President and confirmed by the Senate.

       9.      My responsibilities as Director of the Census Bureau included overseeing the

research and testing that produced the design for the 2020 Census. During my tenure, the

original operational plan for conducting the 2020 Census was released, as was an updated

version 2.0 of this plan.3 In addition, major field tests were conducted in 2013, 2014, 2015 and




3
 U.S. Census Bureau, 2020 Census Operational Plan, A New Design for the 21st Century,
version 2.0 issued September 2016.

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2016. The results of these tests informed the final 2020 Census Design that was tested in the

2018 end-to-end test. This was the final large-scale test in advance of the 2020 Census. It

combined the results of all previous tests and could be viewed as a dress rehearsal for the 2020

Census.

       10.     Prior to being appointed Director of the Census Bureau, I was at National Opinion

Research Center (NORC) at the University of Chicago, serving as Executive Vice President from

2002 to 2008 and President from 2008 to 2013. NORC is an objective, non-partisan independent

research institution that delivers reliable data and rigorous analysis to guide critical

programmatic, business, and policy decisions. Clients include government, corporate, and

nonprofit organizations around the world who partner with NORC to transform increasingly

complex information into useful knowledge. NORC conducts research in five main areas:

Economics, Markets, and the Workforce; Education, Training, and Learning; Global

Development; Health and Well-Being; and Society, Media, and Public Affairs. NORC services

include designing and conducting surveys (telephone, internet, and in-person), as well as

analytical studies.

       11.     From July 2017 to August 2018, I served as the Executive Director of the Council

of Professional Associations on Federal Statistics (COPAFS). COPAFS is an organization with

a membership consisting of professional associations and research organizations that depend on

and support high quality federal statistics. The Executive Director of COPAFS must have a deep

understanding of the Federal Statistical System and the wide range of data products that are

produced. Serving as the Executive Director of COPAFS reinforced my appreciation of the

importance of high-quality Decennial Census data to the entire Federal Statistical System.




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       12.       In addition to the work experience described above, I am an elected Fellow of the

American Statistical Association and was selected to serve on the National Academies of

Science, Engineering, and Medicine Committee on National Statistics.

III.   Concerns

       A.        Background on the Decennial Census

       13.       The uses of the data generated by the Decennial Census are extremely important

for all components of our democracy and economy, including: the constitutionally required

reapportionment of the House of Representatives; redrawing congressional and state legislative

voting districts; allocating over $1.5 trillion in federal funds annually; supporting evidence-based

policy making by state, local and tribal governments; and allowing informed decisions by large

and small businesses to generate economic growth and job creation. The Census results are also

carried forward throughout the decade in the form of population estimates4 that are used for a

number of purposes including ensuring that most public and private household surveys are fully

representative of all population groups.5 Any undercounts in the Census would be carried

forward in the population estimates and reflected in the surveys. Inaccuracies or undercounts in

Decennial Census data will result in under-representation of the affected population groups not

just in the immediate term, but for ten subsequent years until the next Decennial Census results

are available.

       14.       As I discussed above, the Census Bureau spent much of this decade conducting

testing and research in order to develop the plans and procedures to be used in the 2020 Census.



4
  U.S. Census Bureau, https://www.census.gov/programs-surveys/popest.html.
5
  There are many important surveys that provide information that is goes beyond the uses of the
Decennial Census that I described above. For example, the Current Population Survey provides
measures of unemployment, income and poverty; and the Health Interview Survey tracks health
status, health care access, and progress in achieving national health objectives.

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The plans for the 2020 Census include a number of operations and programs that are important to

achieve a fair and accurate enumeration. I will briefly describe four of these here for background

purposes and then discuss the impact of the COVID-19 pandemic and other issues relating to a

fair and accurate enumeration in subsequent portions of this declaration. The four operations or

programs are as follows:

•   Developing a comprehensive address list – The Census Bureau worked this decade to

    continuously update the address list that supported the 2010 Census. Input is continuously

    received from sources such as the United States Postal Service and local governments. The

    Census Bureau also conducted an “address canvassing” operation that concluded in 2019.

    Address canvassing used field or office workers to find and include additional addresses that

    may not have been provided from other input sources. The address list is critical because it

    serves as the control file for most 2020 Census operations including data collection.

•   Self-response – Most housing units on the address list received an invitiation to self-respond

    to the 2020 Census in March 2020. Responses could be submitted by Internet, completing

    and mailing back a paper questionnaire, or over the telephone.

•   Nonresponse Followup – Not all households provide self-responses, requiring the Census

    Bureau to conduct an operation to collect information from these self-nonresponding housing

    units. The Census Bureau refers to this operation as “Nonresponse Followup” or NRFU.

    NRFU requires recruiting and hiring a large staff of enumerators to visit the nonresponding

    housing units and obtain a response and is the most expensive and labor-intensive operation

    that the 2020 Census will carry out. As of August 16, the national self-response rate was

    63.8 percent, which meant that over 36 percent—or over 50 million housing units and their




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    occupants must still be enumerated.6 Prior to the COVID-19 pandemic, the Census Bureau

    estimated that it would need to deploy at least 260,000 enumerators to conduct NRFU for a

    workload of this size.7 As I will discuss below, the hard-to-count populations are

    disproportionately represented in the nonresponse universe. Hard-to-count populations

    include young children, minorities, immigrants, low income renters, limited English

    speakers, residents of hard to reach rural areas; these include Asians and Latinos, and

    American Indian Reservations or Alaska Native Villages. A failure to obtain a complete

    enumeration in NRFU would result in disproportionate undercounts of these populations.

    Therefore, I view a successful NRFU as one of the most important census operations to

    ensuring a fair and accurate count.

•   Developing and deploying an integrated communications and partnership program – The

    Census Bureau has conducted extensive research to develop a communications program,

    using paid adverting and digital media, coupled with a local partnership program to

    encourage self-response and participation in the 2020 Census. The goal of the program is to

    get out messages on a local level that the 2020 Census is important to local communities, and

    that respondent information is completely confidential. The Census Bureau will not share

    identifiable information for any person to any outside entity, including law and immigration

    enforcement. The Census Bureau was very successful in recruiting over 300,000 national and

    local partners for the 2020 Census. Many of these partners planned to hold local events to

    promote 2020 Census self-response.




6
  U.S. Census Bureau 2020 Census daily response rate tracker,
https://2020census.gov/en/response-rates.html (last accessed August 16, 2020).
7
  U.S. Census Bureau, 2020 Census Detailed Operational Plan for: 18. Nonresponse Followup
Operation (NRFU), Version 2.0 Final, July 15, 2019.

                                                 8
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       B.      The requirement to end data collection by the end of September 2020 will
               force the Census Bureau to modify data collection procedures, resulting in a
               less complete enumeration compared to previous censuses.

       15.     The COVID-19 pandemic forced the delay of key 2020 Census operations out of

concerns for the safety of both census workers and the general public. Of particular concern was

the delay of the NRFU.

       16.     The NRFU operation had been scheduled to start on May 15, 2020 and run

through July 31, 2020. However, as a result of the COVID-19 pandemic, the Census Bureau

rescheduled it to start in most of the United States on August 11, 2020 and initially planned to

complete it by October 31, 2020.

       17.     In order to accommodate this delay, the Census Bureau had requested, through the

Department of Commerce, a four-month extension of the deadlines8 to deliver Apportionment

and redistricting data. For apportionment, the requested extension was from the current deadline

of December 31, 2020 to April 30, 2021. For redistricting, the requested extension was from

March 31, 2021 to July 31, 2021.

       18.     However, the Census Bureau has now announced that the deadlines will not be

extended, and that NRFU will now be completed by September 30, 2020.9 The Census Bureau

will have to take steps to complete NRFU more rapidly than it planned, given that it has already

lost over a third of the schedule that the career staff had developed under the original plan.




8
  Title 13, US Code, Section 141, (b) and (c).
9
  Statement from U.S. Census Bureau Director Steven Dillingham: Delivering a Complete and
Accurate 2020 Census Count, https://www.census.gov/newsroom/press-
releases/2020/delivering-complete-accurate-count.html, August 3, 2020.

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          19.    The Census Bureau recently released a review of the 2020 Census Operational

Plan Schedule10 that describes actions being taken to complete all data collection, including

NRFU, by September 30, 2020. According to the review, these actions include:

     •    Starting NRFU in all areas by August 9, 2020

     •    Sending enumerators to make up to six visits to attempt to obtain an interview with

          occupied housing units

     •    Offering bonuses to NRFU enumerators to maximize staff production hours

     •    Making efforts at “Keeping Staff Levels Up”

     •    Implementing outbound telephone calling to supplement in-person contact attempts as a

          means of enumerating hard-to-count populations

          20.    The review document had a serious lack of detail regarding how NRFU would be

actually implemented under the revised and shortened time schedule. The Census Bureau had

prepared detailed information regarding how it was going to conduct NRFU under the original

schedule and time frame. For example, the Census Bureau described three NRFU phases –

Phase 1, Phase 2, and Closeout for the 2020 Census.11 For each phase, criteria and dates were

provided that described how each would start. There is no such discussion included in the

review of the Operational Plan, nor is there even a mention as to whether there will still be three

phases.

          21.    I am concerned that taking the actions described in the review of the Operational

Plan will not effectively address the constraints imposed by the revised timelines for completing


10
   U.S. Census Bureau, Review of 2020 Census Operational Plan Schedule,
https://www.census.gov/content/dam/Census/newsroom/press-kits/2020/2020-operational-plan-
schedule-review.pdf, August 17, 2020.
11
   U.S. Census Bureau, 2020 Census Detailed Operational Plan for: 18. Nonresponse Followup
Operation (NRFU), Version 2.0 Final, July 15, 2019.

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NRFU. My concerns are informed by my experiences in managing all aspects of the 2000

Census and by directing the research and development necessary to plan the 2020 Census. My

concerns are as follows:

     •   The staffing levels will not be adequate to complete NRFU without accepting lower quality

         enumerations and incompletely enumerating the traditionally hard-to-count populations.

         The Census Bureau has lost over 30 percent of the time that had been planned for NRFU,

         and my experience and knowledge lead me to conclude that the Census Bureau will need

         significantly more staff to complete this critical undertaking. However, the plan being put

         forth to end data collection by September 30 is to maintain staffing, at levels determined

         before the advent of the COVID-19 pandemic. The Department of Commerce Office of the

         Inspector (OIG) has recently reviewed the progress of staffing for the NRFU and stated:

                “Bureau management have stated that their target number of enumerators, needed

                by the end of August 2020 to complete NRFU production, is just above 300,000.

                As of August 17, 2020, the Bureau has just under 220,000 enumerators trained and

                ready to start working on the NRFU operation that is underway—this represents

                approximately 73 percent of the estimated number of enumerators needed to

                complete NRFU production. However, 132 out of 248 total Area Census Office

                (ACOs) are less than 75 percent toward reaching their estimated goals; of those 132

                ACOs at less than 75 percent, 37 are less than 50 percent toward reaching their

                goal.”12



12
  Zabarsky, Mark H, Principal Assistant Inspector General for Audit and Evaluation, 2020
Census Alert: The Census Bureau Faces Challenges in Accelerating Hiring and Minimizing
Attrition Rates for Abbreviated 2020 Census Field Operations Final Memorandum No. OIG-20-
041-M., Memorandum for Steven D. Dillingham, Director, U.S.. Census Bureau, August 18,
2020.

                                                 11
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        To explain briefly, the Census Bureau has established Area Census Offices (ACO) to carry

        out the 2020 Census field operations, including NRFU. There are 248 ACOs, each of

        which has a significant portion of the NRFU workload to carry out. On average, this would

        be about 226,000 housing units from which a self-response was not received. It is very

        troubling that not only is the Census Bureau falling behind in its plans for staffing NRFU,

        but also the hiring shortfalls for NRFU staff are not uniform. Approximately 15 percent

        of the NRFU workload is in areas where the Census Bureau is falling 50 percent short of

        hiring goals. While the Census Bureau stated in the Review of the Operational Plan

        Schedule that it was making efforts at “keeping staff levels up,” it is falling well behind in

        reaching the staffing levels it had determined were necessary for NRFU. In addition the

        NRFU staffing levels cited by the OIG are lower than the Census Bureau projected

        requirements prior to the COVID-19 pandemic - 260,000 enumerators.13 I will discuss the

        impact of these staffing shortfalls for hard-to-count communities in more detail below.

•    The self-response rates are not uniformly distributed and are disproportionally lower in areas

     with higher proportions of Black and Latino (referred to as Hispanic by the Census Bureau)

     populations, as well as in some rural areas. For example, as of August 6, 2020, there were

     50.7 million people living in census tracts in the lowest fifth of self-response.14, 15 The

     overall self-response rate for these tracts is less than 51.3 percent, compared to a national



13
   U.S. Census Bureau, 2020 Census Detailed Operational Plan for: 18. Nonresponse Followup
Operation (NRFU), Version 2.0 Final, July 15, 2019.
14
   A census tract is a small geographic are that is similar to a neighborhood. See
https://www.census.gov/programs-surveys/geography/about/glossary.html#par_textimage_13.
15
   Romalewski, Steven, Mapping “Self-Response” for a Fair and Accurate Census, Center for
Urban Research at the Graduate Center, City University of New York,
https://www.gc.cuny.edu/CUNY_GC/media/CUNY-Graduate-
Center/PDF/Centers/Center%20for%20Urban%20Research/Resources/Census2020-self-
response-rates-thru-Aug-6-CUNY-Graduate-Center.pdf, August 7, 2020.

                                                  12
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   average of over 63 percent. Furthermore, while Latinos make up 18.3 percent of the U.S.

   population, they represent 25.8 percent of the population in these low response areas. For

   non-Hispanic Blacks, the corresponding rates are 12.3 and 22.2 percent, respectively. The

   Census Bureau also noted that, as of August 6, 2020, the self-response rate in update-leave

   (rural areas) was a little over 34 percent. The low update-leave self-response is also

   problematic for Latinos living areas such as the colonias in Texas, and for American Indian

   Reservations or Alaska Native Villages. As I will discuss below, the likely outcome for

   these areas and populations will be increased undercounts relative to previous censuses and

   decreased quality of the information collected.

   •   Given the current NRFU staffing levels, the Census Bureau will have to rely less on direct

       in-person contact attempts and more on the following in order to meet the new September

       30, 2020 deadline with deleterious consequences for the count:

       a. Reduced in-person contact attempts with residents of the NRFU households, leading to

          increased undercounts of the traditionally hard-to-count populations. While the Census

          Bureau is planning for up to six attempts for most NRFU households, this will not be

          enough to obtain complete interviews in many hard-to-count communities.            The

          Government Accountability Office (GAO) evaluated the early testing that the Census

          Bureau carried out to develop the current NRFU procedures. The GAO stated:

              “according to preliminary 2016 Census Test data, there were 19,721 NRFU cases

              coded as non-interviews in Harris County, Texas and 14,026 in L.A. County,

              California, or about 30 and 20 percent of the test workload respectively.

              According to the Census Bureau, non-interviews are cases where no data or

              insufficient data were collected, either because enumerators made six attempted




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              visits without success (the maximum number the Bureau allowed) or visits were

              not completed due to, for example, language barriers or dangerous situations.”16

          The Census Bureau subsequently refined the NRFU procedures to allow for more

          contact attempts, as is necessary to reach higher resolution rates comparable to previous

          censuses.17 However, my opinion is that there is a significant risk that NFRU will not

          be successful in completely enumerating hard-to-count communities under the current

          time schedule.

          Hard-to-count communities have significantly lower levels of self-response, and a

          corresponding larger proportion of households that fall into NRFU, making recruiting

          and hiring sufficient staff to achieve a complete enumeration particularly challenging.

          As I discussed above, the Census Bureau has identified hiring staff with relevant

          language skills and hiring people who live in local communities as key components of

          its design for achieving a complete enumeration of hard-to-count communities.

          Difficulties in recruiting NRFU staff with the necessary qualifications make it much

          harder to assign enumerators with the language skills necessary to enumerate non-

          English speaking local areas, and it will also require the Census Bureau to send

          enumerators into communities that they are not familiar with. The ultimate outcome

          for these hard-to-count areas will be a higher portion of incomplete responses. I am

          also very concerned about the proposal to use outbound telephone calling to conduct

          NRFU in hard-to-count communities. For example, the Pew Research Center has



16
   United States Government Accountability Office, 2020 CENSUS Additional Actions Could
Strengthen Field Data Collection Efforts, GAO-17-191, a report to congressional requesters,
January 2017
17
   US Census Bureau, 2020 Census Detailed Operational Plan for: 18. Nonresponse Followup
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          documented that telephone survey rates have fallen from 36 percent in 1997 to under

          six percent in 2018.18 Achieving a complete and accurate count in the hard-to-count

          communities requires a lot of hard work by well-trained enumerators who are very

          familiar with these areas. Furthermore, the use of outbound telephone calling to

          conduct NRFU enumeration has not been tested, nor have methodologies to deploy in-

          language telephone enumerators. Based on my experience in planning and managing

          the 2000 and 2020 Censuses it is my opinion that limited staff, a shortened time frame,

          and the use of untested procedures will most likely result in serious increases in the

          undercounts for these communities relative to previous censuses.

       b. Increased proxy enumerations, resulting in increased levels of erroneous enumerations.

          The limited NRFU workforce combined with the shortened schedule will result in a

          higher level of proxy enumerations than in previous censuses. Proxy enumerations are

          those obtained by asking people other than the actual residents of NRFU households

          for information about those residents. These proxies can include neighbors, apartment

          managers, or other knowledgeable persons. In the 2010 Census, proxy enumerations

          were obtained for about 21 percent of the NRFU returns. The erroneous enumeration

          rate for the proxy enumeration was 6.7 percent—over twice the overall erroneous

          enumeration rate of 3.3 percent.19

       c. Increased reliance on administrative records to complete NRFU enumerations, leading

          to less complete enumerations for the hard-to-count populations. The Census Bureau




18
   Kennedy, Courtney and Hartig, Hannah, Response rates in telephone surveys have resumed
their decline, Pew Research Center report, February 27, 2019.
19
   P. Cantwell, DSSD 2010 Census Coverage Measurement Memorandum Series # 2010-G-01,
(May 22, 2012), https://www.census.gov/coverage_measurement/pdfs/g01.pdf.

                                               15
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          plans include the use of administrative records (e.g., records from the IRS, Medicare,

          and the Social Security Administration) to reduce the NRFU workload, where feasible,

          by using such records to enumerate occupied households that have failed to respond

          after several contact attempts.20 The Census Bureau may be forced to rely more heavily

          on such enumerations if NRFU cannot be completed as planned. Based on the research

          that the Census Bureau conducted to develop the current NRFU strategy, it had planned

          to enumerate 12.9 percent of the occupied NRFU housing units after making one visit.21

          Expanding the uses of administrative records to enumerate a higher portion of the

          NRFU occupied housing units is not supported by the research the Census Bureau has

          used to date, and the Census Bureau has not released additional research to support

          such actions. Census Bureau research has shown that the quality and completeness of

          administrative records is not expansive enough to replace a decennial census.22 In

          addition, noncitizens and Latinos are disproportionately underrepresented in

          administrative records.   Therefore, the use of administrative records beyond the

          planned levels for NRFU would be less representative of the hard-to-count populations

          than a complete NRFU.

       d. There will likely be an increased use of “whole person imputation” relative to

          previous censuses. Such imputations will not correct for any undercounts that have

          resulted from an incomplete NRFU. In conducting NRFU in previous censuses,




20
   Albert E. Fontenot, Intended Administrative Data Use in the 2020 Census, 2020 Census
Program Memorandum Series: 2020.06, May 7, 2020.
21
   U.S. Census Bureau, 2020 Census Detailed Operational Plan for: 18. Nonresponse Followup
Operation (NRFU), Version 2.0 Final, July 15, 2019.
22
   Rastogi, Sonya and Amy O’Hara, 2010 Census Match Study, 2010 Census Planning
Memorandum Series, No. 247, November 19, 2012

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         situations have arisen where, despite the best efforts of NRFU enumerators, either

         minimal or no information was obtained for some housing units by the conclusion of

         the NRFU. The Census Bureau uses statistical techniques, referred to as imputation,

         to correct for this missing data problem. The statistical processes are used to

         estimate—or impute—all of the characteristics of the persons in these housing units.

         The Census Bureau applies “Count Imputation” for situations where no information is

         available for a housing unit. This methodology will first estimate whether the unit is

         occupied, and if so, will estimate or impute a household size – meaning, the number

         of people in that household. The process will then use “whole person imputation” to

         estimate characteristics (including age, race, and ethnicity) for persons in a household

         of this size. The Census Bureau also uses whole person imputation in situations

         where only the count of people residing in a housing unit could be determined. In the

         2010 Census, about 2.0 percent of the enumerations fell into the category of whole

         person imputation – 0.4 percent were the result of count imputation and 1.6 percent

         resulted when only the population count was known.23 It should be noted that of the

         16.3 million persons enumerated by proxy in the 2010 Census, 23.1 percent required

         whole person imputation.24 I am very concerned that the levels of housing units

         requiring whole person imputation will be much larger than in 2010, due to the

         reduction in time and staff limitations for NRFU enumerators to get a complete

         response. Unfortunately, the statistical methods that the Census Bureau uses for

         imputation rely on using information from the resolved housing units to estimate or



23
   P. Cantwell, DSSD 2010 Census Coverage Measurement Memorandum Series # 2010-G-01,
(May 22, 2012), https://www.census.gov/coverage_measurement/pdfs/g01.pdf.
24
   Id.

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             impute for the unresolved housing units. Therefore, any undercounts that are in the

             resolved housing units will be carried forward in the imputation and not corrected.

             These undercounts would include persons omitted from housing units enumerated by

             both self-response and NRFU.

•   The plan to offer bonuses or awards to increase the hours that NRFU enumerators work can

    have unintended consequences on accuracy. The Census Bureau plans to award NRFU

    enumerators up to $800 above their regular pay, if they work a minimum number of hours

    and complete 0.75 cases per hour. I am concerned that in order to meet production goals,

    particularly in areas that are difficult to enumerate, some NRFU enumerators may be tempted

    to falsify data for some households to meet production goals. The result would be that

    instead of obtaining an accurate enumeration for these households, the data would be made-

    up. The Census Bureau has not conducted any testing to understand the effects on quality of

    such awards.

•   The schedule will not allow the Census Bureau the flexibility to complete NRFU in areas

    affected by natural disasters. We are currently in the midst of a very active hurricane season,

    and there are many areas in the West that are dealing with wildfires. The Census Bureau will

    be forced to delay NRFU in such areas until it is safe to return and resume enumeration

    activities. The current schedule simply does not allow enough time to carry out a thorough

    NRFU in areas that may be impacted by these unforeseen events.


       C.       The reduced schedule for NRFU will have serious accuracy and quality
                implications for the 2020 Census

       22.      Undercounts, particularly for traditionally hard-to-count populations, are likely to

increase relative to previous censuses as a result of the Census Bureau’s new, reduced schedule.

As I discussed above, the NRFU workloads will be relatively higher in areas with lower self-


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response rates. The Census Bureau uses low self-response as a key measure in determining

whether an area is hard-to-enumerate,25 so by definition the challenge for NRFU to obtain a

complete count is in these areas. In addition, these areas also contain higher proportions of

Black, Latino, and immigrant populations relative to the White non-Hispanic population. The

end result for these communities is likely to be incomplete NRFU enumeration due to staffing

and time limitations, as well as more use of proxy enumerations and whole person imputation.

This will lead to increased undercounts relative to previous censuses. For example, in the 1990

Census the undercount of the Latino population was 5.0 percent and the undercount for the Black

or African American population was 4.6 percent.26 It is important to understand that in 1990,

the Census Bureau had the flexibility to extend the NRFU beyond its planned end date until it

had reached a completion rate of over 99 percent for NRFU enumeration.27 However, even with

this high completion rate for 1990, serious undercounts were measured.28 The Census Bureau is

now being forced to stop all data collection, including NRFU as of September 30, 2020. In my

opinion, there is a high risk that the measures the Census Bureau will be forced to take to

complete NRFU by this new deadline (as I discussed above relying more on proxy or count-only

enumerations and administrative records), even potentially falling short of the 99 percent

completion goal, will likely result in undercounts that will be materially larger than were

observed in the 1990 Census.



25
   Response Area Outreach Mapper, Census.gov, www.census.gov/roam, (July 2018).
26
   P. Cantwell, DSSD 2010 Census Coverage Measurement Memorandum Series # 2010-G-01,
(May 22, 2012), https://www.census.gov/coverage_measurement/pdfs/g01.pdf.
27
   U.S. Census Bureau, 1990 Census of Population and Housing – History Field Enumeration 6-
36, Report Number CPH-R-2, https://www.census.gov/library/publications/1996/dec/cph-r-
2.html, 1996.
28
   P. Cantwell, DSSD 2010 Census Coverage Measurement Memorandum Series # 2010-G-01,
(May 22, 2012), https://www.census.gov/coverage_measurement/pdfs/g01.pdf.

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       D.        The compressed schedule for post data collection processing significantly
                 increases the risk of inaccuracies into the 2020 Census data

       23.       The initial Census Bureau schedule had NRFU ending at the end of July 2020

leaving about five months for the post data collection operations prior to the release of the

Apportionment counts. In the revised schedule the Census Bureau issued in its request for an

extension of the deadlines, there were six months allocated to complete the post data collection

before the release of the Apportionment counts. Under the current schedule, there are only three

months available for post data collection prior to release of the Apportionment counts. In the

August 17, 2020 Review of the Operational Plan, the Census Bureau offered no insights into

how it was going to address this shortfall. There are critical activities that must be accomplished

as part of the post data collection processing, including:29

             •   Apply data codes to facilitate data tabulation – Many of the questions included on

                 the 2020 Census questionnaire allow respondents to write-in a response (for

                 example the questions on Race and Ethnicity). In order to properly tabulate these

                 responses, they must be assigned a numeric code. Coding is conducted by both

                 automated and computer-assisted manual processes.

             •   Identify potential fraudulent returns from self-responses and record final fraud

                 investigation disposition – The 2020 Census allows multiple opportunities for

                 response. Including “non-ID” response where a respondent can go online and

                 respond with just their address. In previous censuses respondents had to use a

                 multi-digit identification code that uniquely identified their housing unit in order

                 to self-respond. The non-ID process was designed to make it easier to respond to



29
  U.S Census Bureau, 2020 Census Operational Plan, A New Design for the 21st Century,
version 4.0 issued December 2018.

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            the 2020 Census, but it does carry a risk that it could be misused by those who

            might want to introduce inaccuracies into the 2020 Census data files. To guard

            against such actions, the Census Bureau has developed computer algorithms to

            detect such fraud. It is critically important that these algorithms be run, and the

            results evaluated during the post data collection processing.

        •   Resolve potential duplicate responses – Duplicate responses can occur in the

            conduct of a census. For example, someone could self-respond in one location

            and also be enumerated during NRFU in another. Given that NRFU is now taking

            place at a point in time that is much further from Census Day, April 1, 2020 the

            potential for duplicate responses is much higher since more people will have

            moved than the Census Bureau initially anticipated. It will be critical for the

            Census Bureau to have the time to identify and remove any duplicates.

        •   Identify the return of record for housing units with multiple returns – When

            multiple opportunities for response are allowed, situations arise where more than

            one questionnaire is returned for a housing unit. In these situations, the Census

            Bureau uses a Primary Selection Algorithm is to establish the single enumeration

            record for the housing unit.

        •   Repair missing or conflicting data – There are situations where responses to some

            of the questions are missing. The count-imputation and whole person imputation

            scenarios that I discussed above are examples of these situations. This component

            of the post data collection processing is designed to carry out these statistical

            processes.




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             •   Provide final census results – Finally, a census file must be created that combines

                 the results of the steps I have outlined above so that it can provide the tabulations

                 necessary for producing the Apportionment counts.

       24.       Each of the activities I described above must be carried out to ensure that the post

data collection processing will generate high quality data. The Census Bureau has not stated

what actions it will take to fit processes that were initially planned for five months into a three

month window. Dropping or seriously curtailing any one of the above processes would have

severe consequences by reducing the quality of the 2020 Census data.

       25.       The reduced time frame for post data collection processing will not allow the

Census Bureau to run the computer programs that have been prepared to carry out the critical

activities as had originally been planned. At a minimum the Census Bureau will have to modify

or alter the sequence of these computer programs. Rushing to modify computer programs at the

last minute introduces the risk of making systematic programming errors which would further

erode the quality of the resulting 2020 Census data.

       26.       The initial 2020 Census schedule for post data collection is very reasonable and is

consistent with the schedule for previous censuses. In both the 2000 and 2010 Censuses, NRFU

was completed within the schedule originally planned for 2020 – June 26, 2000 and July 9, 2010,

respectively. In both of these censuses the Apportionment counts were delivered to the President

in late December of 2000 and 2010 respectively. The 2020 Census schedule, as originally

revised and requested by the Census Bureau, was also following this well-established time

schedule.

       27.       The overall quality of the 2020 Census data will most likely be lower than in

previous censuses. As I noted above, it is very likely that the Census Bureau will have to rely




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more on proxy enumeration and whole person imputation that in previous censuses. While this

will be a particular problem for the hard-to-count communities, these less accurate enumeration

methods will also most likely be used more across the board in the 2020 Census relative to

previous censuses. In addition to the increased use of proxy enumeration, as I discussed above,

employing a higher level of administrative records and statistical imputation will result in lower

quality than would have been achieved through direct in-person contact. Finally, the extreme

truncation of time to conduct the post-data collection activities, as discussed above, will most

likely lead to additional inaccuracies that will disproportionately hurt hard-to-count populations.

       28.     The impacts of undercounts and poor quality data will not just be a problem for

the immediate uses of the 2020 census (e.g., apportionment and redistricting), but will remain for

the 10 years until they can be corrected in the 2030 Census (e.g. federal funding).


       E.      Increased transparency is essential to assure stakeholders of the legitimacy of
               2020 Census data collection

       29.     At this point, there is little information available to assess the conduct of the 2020

NRFU. The Census Bureau has been very forthcoming about the self-response phase of the 2020

Census. Very detailed and granular data have been made available to allow for public

assessment of self-response for many areas, including census tracts.

       30.     The current Census Bureau plan is to release only NRFU resolution rates at the

State level. These rates are not helpful in assessing the actual progress of NRFU in achieving a

complete enumeration of all population groups and areas. In order to demonstrate that NRFU is

meeting the goal of a complete and accurate enumeration, it is essential that the Census Bureau

provide additional data beyond just the resolution rate of housing units in NRFU. These data

should include information such as the rate of proxy and count only enumerations at similar




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levels of geographic aggregation as the self-response data. Further, in order to ensure that the

reported apportionment tabulations will be complete and accurate, the Census Bureau should

also provide additional information on how it plans to conduct needed post-data collection

processes without the additional time it had originally requested.

       31.     The Census Bureau has recently announced three new political appointees

including a new Deputy Director for Policy30 and a new Deputy Director for Data,31 raising

concerns among stakeholders. Having political appointees with vague responsibilities at the

Deputy Director level of the Census Bureau (which has always been a career position) is

unprecedented and is raising serious concerns among stakeholders. Perceptions that the results

of the 2020 Census have been manipulated for political purposes will erode public and

stakeholder confidence, not only in the 2020 Census, but also in our democratic processes more

generally. Therefore, it is critical that the Census Bureau release the data that I have described

above to demonstrate that it is achieving a complete and fair enumeration through NRFU.

IV.    Conclusion

       32.     It is my conclusion that the current deadlines for delivering the 2020 Census

Apportionment and redistricting data place unreasonable time constraints on the Census Bureau.

These constraints will not allow the Census Bureau to carry out data collection operations that

will deliver high quality results. I am very concerned that these timing constraints will

significantly increase the risk of much larger undercounts for the 2020 Census than measured in




30
 Statement from Census Bureau Director Steven Dillingham, Release Number CB20-RTQ.20
31
 Statement from Census Bureau on Deputy Director for Data, Release Number CB20-RTQ.24,
August 17, 2020

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                                     JOHN H. THOMPSON

BRIEF CAREER HISTORY
Extensive Senior Executive leadership in the non-profit and federal sectors, with experience in social
science research and statistics, congressional advocacy, building coalitions, operational management,
business development, stakeholder relations, innovation, and strategic vision.


Independent Consultant, August 2018 to present
Consulting service focusing on survey methodology, executive leadership, the Federal Statistical System,
and decennial census. Activities have included:
    •   Expert witness for the plaintiffs in two court cases opposing the addition of a citizenship question
        to the 2020 Census
             o New York Immigration Coalition, et al v. United States Department of Commerce and
                 Wilbur Ross, U.S. District Court for the Southern District of New York, and
             o Robyn Kravitz et al., v. United States department of Commerce, et al
    •   Training news media journalists on the 2020 Census with Georgetown University, the Poynter
        Center, and the Harvard Shorenstein Center.
    •   Providing consultation services to NORC at the University of Chicago

Executive Director, Council of Professional Associations on Federal Statistics –
July 2017 to August 2018

The Council of Professional Associations on Federal Statistics (COPAFS) was founded in 1981 to
coordinate activities of a number of Associations, Organizations, and Businesses that rely on
federal statistics to support good governance and economic growth. COPAFS now represents a
growing body of stakeholders that support the production and use of high quality statistics. The
Executive Director represents these stakeholders in realizing their mission to Advance Excellence
in Federal Statistics. Activities include:

•   Advocated on behalf of federal agencies. For example, COPAFS is a co-chair of the Friends
    of the Bureau of Labor Statistics, and the Friends of the National Center for Health Statistics;
•   Worked with stakeholder coalitions to support proper funding for the 2020 Census and the
    American Community Survey;
•   Ensured members of Congress, COPAFS members, and other stakeholders were informed of
    critical issues facing agencies that produce federal statistics;
•   Alerted members and stakeholders of breaking issues that needed immediate support and
    attention;
•   Organized and supported ongoing educational efforts for members of Congress and their staff
    on the value and importance of federal statistics both nationally and in their own states and
    districts;
•   Created and joined in powerful coalitions of organizations and businesses to advocate on behalf
    of federal agencies that produce statistics, building broad support across a wide spectrum of
    data users;
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•   Built partnerships with foundations that help fund critical research in the statistical agencies
    and academia to ensure the on-going modernization of how statistical data are created and
    made available to the public and researchers, and to fund educational efforts;
•   Worked closely with the Chief Statistician of the United States and the statistical agencies to
    help inform and promote modernization efforts underway and assist agencies in keeping
    abreast of new stakeholder data needs; and
•   Hosted events to demonstrate the importance of federal statistics such as the 2018 Federal
    Committee on Statistical Methodology Research and Policy Conference.

Director, United States Census Bureau – August 2013 to June 2017

Appointed by the President as Director of the largest federal statistical agency, with a staff of over
5,000 headquarters employees and approximately 10,000 to 15,000 staff spread across the United
States in six regional offices and a major production facility in Indiana, with an annual budget
exceeding $1 billion. Key accomplishments include:

•   Worked successfully with the executive and legislative branches of the federal government,
    including the White House, the Office of Management and Budget, Cabinet officials, and
    members of Congress and congressional staff, to accomplish a major transformation of the
    Census Bureau into a forward-looking 21st century statistical agency. Testified at 6
    congressional hearings on the Census Bureau;
•   Provided a conceptual vision and lead a redesign of the 2020 decennial census that is estimated
    to save $5 billion through effective use of operations research-driven reengineering of field
    operations, innovative use of technology, and partnership with key stakeholders;
•   Lead outreach to key stakeholders including representatives of state local and tribal
    governments; advocacy organizations; professional associations, business groups, various
    media; and academic researchers;
•   Put in place a robust research program to support mission critical activities, such as linking
    administrative records, disclosure avoidance methods, economic studies, statistical research,
    survey methodology, big data, and data dissemination;
•   Lead efforts to maintain congressional support and funding for the American Community
    Survey, a critical data asset of the federal government, including mobilizing a diverse group of
    key stakeholders to effectively advocate in support of the survey, personally visiting almost all
    of the House of Representatives and Senate members of the Census Bureau appropriations and
    oversight committees, and establishing a program of research directly related to the concerns
    that had been raised;
•   Improved economic statistics through research on using alternatives to direct survey data
    collection to produce statistics that are timelier and have increased granularity, and carrying
    out three initiatives to advance the release of principal economic indicators on trade, retail sales
    and services, which allowed the Bureau of Economic Analysis to significantly reduce revisions
    to Gross Domestic Product (GDP) estimates;
•   Recruited outstanding research staff including new senior leadership for Research and
    Methodology, the Director of a newly established big data center, and seven former
    Presidential Innovation Fellows; and
•   Improved data dissemination to the public, including development of a platform to deliver data
    in ways that will meet the rapidly evolving demands of a growing body of users. In addition,
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    in order to meet immediate targeted demands two new tools were released: City SDK
    (Software Development Kit) to allow easy developer access; and Census Business Builder a
    tool that combines small area demographic and economic data in a way that is easily accessible
    for entrepreneurs and small business owners.

President and Executive Vice President, NORC at the University of Chicago – July 2002 to
August 2013

NORC is a national non-profit organization that conducts high quality social science research in
the public interest. As President, I had responsibility for all NORC corporate activities and for the
quality of all NORC research efforts. I provided vision for NORC to establish the organization as
a leader in the social science research industry. My accomplishments included:

    •   Strengthened the organization’s high-quality, diverse staff;
    •   Broadened the scope of the collaborations between NORC and the University of Chicago;
    •   Realized nearly 50 percent growth in revenue and greatly expanding NORC’s portfolio of
        business and research programs; and
    •   Provided leadership in the social science research community - selected to be a Fellow of
        the American Statistical Association (ASA), elected to serve a term as Chair of the Social
        Statistics Section of the ASA, and chaired the 2009 ASA Committee on Fellows. Also
        elected as a member of the Committee on National Statistics, serving on two National
        Academy of Sciences panels addressing 2010 and 2020 Census concerns.

As Executive Vice President of Survey Operations (2002 – 2008), I provided oversight and
direction to the Economics, Labor Force, and Demography Research Department, the Statistics
and Methodology Department, and Survey Operations for field and telephone data collection. My
major accomplishments included:

   •    Provided leadership and guidance for a major corporate initiative, the National
        Immunization Survey, which is conducted on behalf of the Centers for Disease Control and
        Prevention, and is the largest telephone survey in the United States conducted via random
        digit dialing for scientific purposes.
   •    Significantly increased the productivity and cost effectiveness of NORC’s overall data
        collection activities;
   •    Successfully utilized skills in directing large project start-ups, and in managing large
        complex operations, directing the project through the completion of the first contract phase,
        which included the first year of data collection and the delivery of the first data set; and
   •    All survey operations were completed on schedule, and within budget including the delivery
        of an extremely complex data set, and a public use file.
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Principal Associate Director and Associate Director for Decennial Census Programs, United
States Census Bureau – 1997 to July 2002

Served as the senior career executive responsible for all aspects of the 2000 Decennial Census.
This was the largest peacetime mobilization undertaken by the U.S. government, with a budget of
$6.5 billion, establishment of over 500 field offices, a temporary workforce that peaked at over
500,000, and establishment of telephone capacity to receive over 5 million calls over a period of
one month. I was also chairman and director of the Executive Steering Committee for Accuracy
& Coverage Evaluation Policy for the 2000 Census. This Committee was charged with making a
recommendation as to whether or not to adjust the 2000 Census redistricting data for coverage
errors, an issue fraught with political disagreement and controversy. This work was widely
recognized as superb – with the Committee’s recommendation supported by numerous reviews,
including the National Academy of Sciences Panel on evaluating Census 2000.

EDUCATION
    M.S.                   Virginia Polytechnic Institute and State University, 1975 Mathematics
                           Graduate course work in statistics - George Washington University 1977-1981
    B.S.                   Virginia Polytechnic Institute and State University, 1973 Mathematics

PROFESSIONAL SERVICE AND ASSOCIATIONS

        American Statistical Association, 1975 to Present
                   Chair, Social Statistics Section – 2011
                   Chair, ASA Committee on Fellows - 2009
        National Academy of Sciences,
                   Member of the Committee on National Statistics – 2011 - 2013
                   Member of the Panel on the Design of the 2010 Census Program of Evaluations and
                   Experiments
                   Member of the Panel to Review the 2010 Census

HONORS AND AWARDS

        Virginia Tech College of Science Hall of Distinction inaugural class, 2013
        Presidential Rank Award of Meritorious Executive, 2001
        Department of Commerce, Gold Medal, U.S. Bureau of the Census, 2000
        Elected Fellow of the American Statistical Association, 2000
        Department of Commerce, Silver Medal, U.S. Bureau of the Census, 1998
        Department of Commerce, Bronze Medal, U.S. Bureau of the Census, 1988
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PAPERS AND PUBLICATIONS

        2018       Thompson, John H and Yablon, Robert. Issue Brief: “Preparing for the 2020
                   Census Considerations for State Attorneys General”. American Constitution
                   Society., October 10, 2018

        2012       Thompson, John H. (Panel Member). “Panel Discussion: Considering Changing
                   Sectors in the Research Industry?: Advice From Those Who Have Done It!”
                   AAPOR 67th Annual Conference, Orlando, Florida, May 19, 2012

        2012       Thompson, John H. (Discussant). “Future is Now: Realignment of Current Survey
                   Management and Operations at the Census Bureau”. Population Association of
                   America 2012 Annual Meeting, San Francisco, California, May 4, 2012.

        2012       Thompson, John H. (Discussant). “Use of Administrative Records in the 2020
                   Census.” Federal Committee on Statistical Methodology, Washington, DC.,
                   January 10, 2012

        2011       Weinberg, Daniel H. and Thompson, John H., “Organization and Administration
                   of the 2010 U.S. Census.” In Margo J. Anderson, Constance F. Citro, and Joseph
                   J. Salvo (eds.) Encyclopedia of the U.S. Census, Second Edition, CQ Press., July
                   2011

        2010       Thompson, John H., “Challenges, Innovation and Quality for the 21st Century”
                   Keynote Speech at the 2010 FCSM Statistical Policy Seminar, Washington, DC,
                   December 14, 2010.
        2010       Thompson, John H., “The Future of Survey Research: Opportunities and
                   Challenges” Paper presented at the Applied Demography Conference, San
                   Antonio, Texas., January 11, 2010 and at the Population Association of America
                   2010 Annual meeting, Dallas, Texas, April 15, 2010.
        2008       Thompson, John H. (Panel Member). “Panel Discussion: The American
                   Community Survey: Promise, Products and Perspectives.” Population Association
                   of America Annual Meeting, New Orleans, Louisiana, April 17, 2008.
        2006       Thompson, John H. (Discussant). “Census 2010: A New Census for the 21st
                   Century.” Population Association of America Annual Meeting, Los Angeles,
                   California, March 30, 2006.
        2004       Thompson, John H., “Interviewer Falsification of Survey Data.” Paper presented
                   at the Joint Meetings of the American Statistical Association, Toronto, Canada,
                   August 11, 2004.
        2003       Thompson, John H., “Is Interviewer Falsification Scientific Misconduct?”
                   Roundtable paper presented at the American Association for Public Opinion
                   Research 58th Annual Conference, Nashville, Tennessee, May 16, 2003.
        2002       Thompson, John H. (Discussant). “Eliminating the 2010 Census Long Form? –
                   Current Status of the American Community Survey.” Population Association of
                   America Annual Meeting, Atlanta, Georgia, May 9, 2002.
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        2001       Thompson, John H., “Decision on Release of Statistically Corrected Redistricting
                   Data.” Invited paper presented at the Joint Meetings of the American Statistical
                   Association, Atlanta Georgia, August 6, 2001.
        1999       Thompson, John H., “Census 2000 – Innovations and New Technology.” Paper
                   presented at the Economic Commission for Europe’s Conference of European
                   Statisticians Meeting, Geneva, Switzerland, February 15-17, 1999.
        1998       Thompson, John H. and Robert E. Fay, “Census 2000: The Statistical Issues.”
                   Paper presented at the Joint Meetings of the American Statistical Association,
                   Dallas, Texas, August 9-13, 1998.
        1996       Thompson, John H. and Karen Mills, “Census 2000 Content: Tradeoffs on Cost,
                   Quality, and Quantity.” Paper presented at the Annual Meeting of the Population
                   Association of America, New Orleans, Louisiana, May 9-11, 1996.
        1995       Thompson, John H., Mary H. Mulry, Susan M. Miskura, “Census 2000: Statistical
                   Issues in Reengineering the Decennial Census.” Paper presented at the Annual
                   Meeting of the American Statistical Association, Orlando, Florida, August 13-17,
                   1995.
        1992       Fay, Robert E. and John H. Thompson, “The 1990 Post-Enumeration Survey:
                   Statistical Lessons in, Hindsight.” Paper presented at the Annual Research
                   Conference, March 22-25, 1992, Arlington, Virginia.
        1989       Edson, Robert G. and John H. Thompson, “1990 Decennial Census Coverage
                   Improvement Program.” Paper presented at the Annual Winter Meetings of the
                   American Statistical Association, San Diego, California, January, 1989.
        1988       Navarro, Alfredo, John H. Thompson, and Linda Flores-Baez, “Results of Data
                   Switching Simulation.” Paper presented to the Census Advisory Committees at the
                   Joint Advisory Committee Meetings, Oxon Hill, Maryland, April, 1988.
        1987       Griffin, Richard A. and John H. Thompson, “Confidentiality Techniques for the
                   1990 Census.” Paper presented to the Census Advisory Committees at the Joint
                   Advisory Committee Meetings, Oxon Hill, Maryland, October, 1987.
                   U.S. Bureau of the Census, “Programs to Improve Coverage in the 1980 Census,”
                   by John H. Thompson. Evaluation and Research Reports, PHC80-E3.
        1986       Thompson, John H. and David Franklin, ‘Test Census Results and Applications
                   for the 1990 Planning.” Paper presented at the Census Bureau Second Annual
                   Research Conference, Reston, Virginia, March, 1986.
        1984       Miskura, Susan M., John H. Thompson, Henry F. Woltman, “Uses of Sampling
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